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                 THE UNITED STATES DISTRICT COURT
 9        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
10
      BRITANNY SAYLES, an          )      Case No.:
11    individual; CHANELLE CLARK   )      COLLECTIVE ACTION
12                                 )
                       Plaintiff,  )      COMPLAINT FOR DAMAGES
13            vs.                  )
                                          1. Failure to Pay Minimum Wage,
14                                 )
                                             29 U.S.C. § 206;
      NATURAL NINE, INC. dba       )
15                                        2. Failure to Pay Overtime Wages,
      SAM’S HOFBRAU, a California  )
                                             29 U.S.C. § 207;
16    Corporation; ALAN KIYOSHI    )
                                          3. Unlawful Taking of Tips,
      MINATO, an individual; DOE   )
17                                           29 U.S.C. § 203;
      MANAGERS 1-3; and DOES 4-10, )
                                          4. Illegal Kickbacks, 29 C.F.R. §
18    inclusive,                   )
                                             531.35;
                                   )
19                                        5. Forced Tip Sharing, 29 C.F.R. §
                      Defendants.  )
                                             531.35;
20                                 )
                                          6. Failure to Pay Minimum Wage in
                                   )
21                                           Violation of Cal. Lab. Code §§ 1194
                                   )
                                             & 1197;
22                                 )
                                          7. Failure to Pay Overtime Wages in
                                   )
23                                           Violation of Cal. Lab. Code §§ 510,
                                   )
                                             1194, & 1197;
24                                 )
                                          8. Failure to Furnish Accurate Wage
                                   )
25                                           Statements, Cal. Lab. Code § 226;
                                   )
                                          9. Waiting Time Penalties,
26                                 )
                                             Cal. Lab. Code §§ 201-203;
                                   )
27
                                   )
28                                 )
           COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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                                             )   10. Failure to Indemnify Business
 1
                                             )       Expenses in Violation of Cal. Lab.
 2                                           )       Code § 2802;
                                             )   11. Compelled Patronization of
 3
                                             )       Employer and/or Other Persons in
 4                                           )       Violation of Cal. Lab. Code § 450;
 5                                           )       and
                                             )   12. Violation of Cal. Lab. Code §§ 350,
 6                                           )       et seq.; and
 7                                           )   13. Unfair Competition in Violation of
                                             )       Cal. Bus. & Prof. Code §§ 17200, et
 8                                           )       seq.
 9                                           )
                                             )   DEMAND FOR JURY TRIAL
10
11          Plaintiffs BRITANNY SAYLES and CHANELLE CLARK (“Plaintiffs”),
12    individually and on behalf of all others similarly situated, alleges the following
13    upon information and belief, based upon investigation of counsel, published
14    reports, and personal knowledge:
15    I.    NATURE OF THE ACTION
16          1.     Plaintiffs allege causes of action against defendants NATURAL
17    NINE, INC. dba SAM’S HOFBRAU (“Defendant” or “Sam’s Hofbrau”), a
18    California Corporation, ALAN KIYOSHI MINATO (“Defendant” or “Minato”),
19    an individual, DOE MANAGERS 1-3, and DOES 4-10, inclusive (collectively,
20    “Defendants”) for damages due to Defendants evading the mandatory minimum
21    wage and overtime provisions of the Fair Labor Standards Act (“FLSA”), 29
22    U.S.C. §§ 201, et seq. and illegally absconding with Plaintiff’s tips.
23          2.     As a result of Defendants’ violations, Plaintiffs seek to recover all
24    tips kept by the employer, liquidated damages, interest, and attorneys’ fees and
25    costs pursuant to the FLSA.
26          3.     These causes of action arise from Defendants’ willful actions while
27    Plaintiffs were employed by Defendants from at least three (3) years prior to the
28
           COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1    filing of this Complaint. During her time being employed by Defendants,
 2    Plaintiffs were denied minimum wage payments and denied overtime as part of
 3    Defendants’ scheme to classify Plaintiffs and other dancers/entertainers as
 4    “independent contractors.” As the Department of Labor explained in a recent
 5    Administrative Interpretation:
 6
                  Misclassification of employees as independent contractors is
 7                found in an increasing number of workplaces in the United
 8                States, in part reflecting larger restructuring of business
                  organizations. When employers improperly classify
 9                employees as independent contractors, the employees may
10                not receive important workplace protections such as the
                  minimum wage, overtime compensation, unemployment
11                insurance, and workers’ compensation. Misclassification also
12                results in lower tax revenues for government and an uneven
                  playing field for employers who properly classify their
13                workers. Although independent contracting relationships
14                can be advantageous for workers and businesses, some
                  employees may be intentionally misclassified as a means to
15
                  cut costs and avoid compliance with labor laws.
16
             As alleged in more detail below, that is exactly what Defendants are, and were
17
      at all times relevant, doing.
18
             4.     Plaintiffs worked at Defendants’ principal place of business located
19
      at 1751 E Olympic Blvd, Los Angeles, CA 90021.
20
             5.     Defendants failed to pay Plaintiffs minimum wages and overtime
21
      wages for all hours worked in violation of 29 U.S.C. §§ 206 and 207 of the
22
      FLSA.
23
             6.     Defendants’ conduct violates the FLSA, which requires non-exempt
24
      employees to be compensated for their overtime work at a rate of one and one-
25
      half (1 ½) times their regular rate of pay. See 29 U.S.C. § 207(a).
26
             7.     Furthermore, Defendants’ practice of failing to pay tipped
27
      employees pursuant to 29 U.S.C. § 203(m), violates the FLSA’s minimum wage
28
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 1    provision. See 29 U.S.C. § 206.
 2           8.       Plaintiffs bring a collective action to recover the unpaid overtime
 3    compensation and minimum wage owed to them individually and on behalf of all
 4    other similarly situated employees, current and former, of Defendants in
 5    California. Members of the Collective Action are hereinafter referred to as
 6    “FLSA Class Members.”
 7           9.       As a result of Defendants’ violations, Plaintiffs and the FLSA Class
 8    Members seek to recover double damages for failure to pay minimum wage,
 9    overtime liquidated damages, interest, and attorneys’ fees.
10    II.    VENUE AND JURISDICTION
11           10.      This Court has jurisdiction over the subject matter of this action
12    under 28 U.S.C. § 1331 because this action arises under the FLSA, 29 U.SC. §
13    201, et seq. Plaintiff’s state law claims for relief are within the supplemental
14    jurisdiction of the Court pursuant to 28 U.S.C. § 1367(a).
15           11.      Venue is proper in this District because all or a substantial portion of
16    the events forming the basis of this action occurred in this District. Defendants’
17    club is located in this District and Plaintiff worked in this District.
18           12.      Plaintiffs have satisfied all conditions precedent, if any, to the filing
19    of this suit.
20    III.   PARTIES
21           13.      Plaintiffs are individual adult residents of the State of California.
22    Furthermore, Plaintiffs were employed by Defendants and qualifies as an
23    “employee” of Defendants as defined by the FLSA, 29 U.S.C. § 203(e)(1). Her
24    consent to this action is attached hereto as Exhibits “1” and “2”.
25           14.      The FLSA Class Members are all current and former exotic
26    dancers/entertainers who worked at Sam’s Hofbrau located at 1751 E Olympic
27    Blvd, Los Angeles, CA 90021 at any time starting three (3) years before this
28    Complaint was filed, up to the present.
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 1          15.    Sam’s Hofbrau is a California Corporation with its principal place of
 2    business at 1751 E Olympic Blvd, Los Angeles, CA 90021. At all times
 3    mentioned herein, Sam’s Hofbrau was an “employer” or “joint employer” of
 4    Plaintiff as defined by the FLSA, 29 U.S.C. § 203(d) and (g). Sam’s Hofbrau
 5    may be served via its agent for service of process, Anderson Registered Agents at
 6    3225 McLeod Drive, Suite 110, Las Vegas, Nevada 89121.
 7          16.    Minato was/is the individual who executed the policies regarding
 8    payment to dancers/entertainers and management of dancers/entertainers,
 9    including Plaintiff. Minato is also the owner and Chief Executive Officer of
10    Sam’s Hofbrau and resides in South Pasadena, California.
11          17.    Minato acted directly or indirectly on behalf of Sam’s Hofbrau, and,
12    at all times mentioned herein was an “employer” or “joint employer” of Plaintiff
13    within the meaning of the FLSA. He exerted operational and management control
14    over Sam’s Hofbrau, including day to day management. He was frequently
15    present at, owned, directed, controlled and managed the operations at Sam’s
16    Hofbrau. He also controlled the nature, pay structure, and employment
17    relationship of Plaintiffs and the FLSA Class Members. Minato had at all times
18    relevant to this lawsuit, the authority to hire and fire employees at Sam’s
19    Hofbrau, the authority to direct and supervise the work of employees, the
20    authority to sign on the business’ checking accounts, including payroll accounts,
21    and the authority to make decisions regarding employee compensation and
22    capital expenditures. Additionally, he was responsible for the day-to-day affairs
23    of Sam’s Hofbrau. In particular, he was responsible for determining whether
24    Sam’s Hofbrau complied with the FLSA.
25          18.    DOE MANAGERS 1-3 are the managers/owners who control the
26    policies and enforce the policies related to employment at Sam’s Hofbrau.
27          19.    At all material times, Defendants have been an enterprise in
28    commerce or in the production of goods for commerce within the meaning of 29
           COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1    U.S.C. § 203(r)(1) of the FLSA because they have had employees at their club
 2    engaged in commerce their club which has travelled in interstate commerce.
 3    Moreover, because of Defendants’ interrelated activities, they function in
 4    interstate commerce. 29 U.S.C. § 203(s)(1).
 5          20.    Furthermore, Defendants have had, and continue to have, an annual
 6    gross business volume in excess of the statutory standard.
 7          21.    At all material times during the three (3) years prior to the filing of
 8    this action, Defendants categorized all dancers/entertainers employed at Sam’s
 9    Hofbrau as “independent contractors” and have failed and refused to pay wages
10    or compensation to such dancers/entertainers. Plaintiffs were an individual
11    employee who engaged in commerce or in the production of goods for commerce
12    as required by 29 USC §§ 206-207.
13          22.    The true names, capacities or involvement, whether individual,
14    corporate, governmental or associate, of the Defendants named herein as DOE
15    MANAGERS 1 through 3 and DOES 4 through 10, inclusive are unknown to
16    Plaintiff who therefore sues said Defendants by such fictitious names. Plaintiff
17    prays for leave to amend this Complaint to show their true names and capacities
18    when the same have been finally determined. Plaintiffs are informed and believes,
19    and upon such information and belief alleges thereon, that each of the Defendants
20    designated herein as DOE is negligently, intentionally, strictly liable or otherwise
21    legally responsible in some manner for the events and happenings herein referred
22    to, and negligently, strictly liable intentionally or otherwise caused injury and
23    damages proximately thereby to Plaintiff, as is hereinafter alleged.
24          23.    Plaintiffs are informed and believe that, at all relevant times herein,
25    Defendants engaged in the acts alleged herein and/or condoned, permitted,
26    authorized, and/or ratified the conduct of its employees and agents, and other
27    Defendants and are vicariously or strictly liable for the wrongful conduct of its
28    employees and agents as alleged herein.
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 1          24.    Plaintiffs are informed and believe, and on that basis allege that, each
 2    of the Defendants acted, in all respects pertinent to this action, as the agent or
 3    employee of each other, and carried out a joint scheme, business plan, or policy in
 4    all respect thereto and, therefore, the acts of each of these Defendants are legally
 5    attributable to the other Defendants, and that these Defendants, in all respects,
 6    acted as employer and/or joint employers of Plaintiff in that each of them
 7    exercised control over her wage payments and control over her duties.
 8          25.    Plaintiffs are informed and believe, and on that basis allege that, at
 9    all relevant times, each and every Defendant has been the agent, employee,
10    representative, servant, master, employer, owner, agent, joint venture, and alter
11    ego of each of the other and each was acting within the course and scope of his or
12    her ownership, agency, service, joint venture and employment.
13          26.    At all times mentioned herein, each and every Defendant was the
14    successor of the other and each assumes the responsibility for the acts and
15    omissions of all other Defendants.
16    IV.   ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
17                               (AGAINST ALL DEFENDANTS)
18          A.     FACTUAL ALLEGATIONS
19          27.    Defendants operate an adult-oriented entertainment facility under
20    the name “Sam’s Hofbrau”, located at 1751 E Olympic Blvd, Los Angeles, CA
21    90021. At all times mentioned herein, Defendants were “employer(s)” or “joint
22    employer(s)” of Plaintiffs.
23          28.    At all times during the four (4) years prior to the filing of the instant
24    action, Defendants categorized all dancers/entertainers employed by Defendants
25    as “independent contractors” and have failed and refused to pay wages to such
26    dancers.
27          29.    At all times relevant to this action, Defendants exercised a great deal
28    of operational and management control over the subject club, particularly in the
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 1    areas of terms and conditions of employment applicable to dancers and
 2    entertainers.
 3             30.    Plaintiffs worked as dancers for Defendants during the past three
 4    years.
 5             31.    The primary duty of a dancer/entertainer is to dance and entertain
 6    customers, and give them a good experience. Specifically, a dancer/ entertainer
 7    performs stage and table dances, and entertains customers on an hourly basis.
 8             32.    Stated differently, dancers/entertainers dance on stage, perform table
 9    dances, and entertain customers in VIP rooms, all while nude or semi-nude.
10             33.    Plaintiffs worked and performed at the adult-oriented entertainment
11    facility multiple shifts per week. Plaintiffs were an integral part of Defendants’
12    business which operated solely as an adult-oriented entertainment facility
13    featuring nude or semi-nude female dancers/ entertainers.
14             34.    Defendants did not pay dancers/ entertainers on an hourly basis.
15             35.    Defendants exercised significant control over Plaintiffs during their
16    shifts and would demand that Plaintiffs work four (4) days a week and tell
17    Plaintiffs what time they were permitted to leave.
18             36.    Defendants set prices for all VIP performances.
19             37.    Defendants set the daily cover charge for customers to enter the
20    facility and had complete control over which customers were allowed in the
21    facility.
22             38.    Defendants controlled music for Plaintiffs’ performances.
23             39.    Defendants controlled the means and manner in which Plaintiffs
24    could perform.
25             40.    Defendants had the authority to suspend, fine, fire, or otherwise
26    discipline entertainers for non-compliance with their rules regarding dancing.
27             41.    Defendants actually suspended, fined, fired, or otherwise disciplined
28    entertainers for non-compliance with their rules regarding dancing.
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 1          42.    Although Defendants allowed dancers/entertainers to choose their
 2    own costumes, Defendants reserved the right to decide what a particular
 3    entertainer was allowed to wear on the premises. In order to comply with Sam’s
 4    Hofbrau’s dress and appearance standards, Plaintiffs typically expended
 5    approximately a half (1/2) hour of time each shift getting ready for work without
 6    being paid any wages for such time getting ready.
 7          43.    Plaintiffs were compensated exclusively through tips from
 8    Defendants' customers. That is, Defendants did not pay Plaintiffs whatsoever for
 9    any hours worked at their establishment.
10          44.    Defendants also required Plaintiffs to share her tips with Defendants
11    and other non-service employees who do not customarily receive tips, including
12    the managers and disc jockeys.
13          45.    Defendants are in violation of the FLSA’s tipped-employee
14    compensation provision, 29 U.S.C. § 203(m), which requires employers to pay a
15    tipped employee a minimum of $2.13 per hour. Defendants also violated 29
16    U.S.C. § 203(m) when they failed to notify Plaintiffs about the tip credit
17    allowance (including the amount to be credited) before the credit was utilized.
18    That is, Defendants’ exotic dancers/entertainers were never made aware of how
19    the tip credit allowance worked or what the amounts to be credited were.
20    Furthermore, Defendants violated 29 U.S.C. § 203(m) because they did not allow
21    Plaintiffs to retain all of her tips and instead required that she divide her tips
22    amongst other employees who do not customarily and regularly receive tips.
23    Because Defendants violated the tip-pool law, Defendants lose the right to take a
24    credit toward minimum wage.
25          46.    Defendants exercised significant control over Plaintiffs through
26    written and unwritten policies and procedures.
27          47.    Sam’s Hofbrau provided and paid for all advertising and marketing
28    efforts undertaken on behalf of Sam’s Hofbrau.
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  1          48.    Sam’s Hofbrau paid for the building used by Sam’s Hofbrau,
  2    maintenance of the facility, the sound system, stages, lights, beverage and
  3    inventory used at the facility.
  4          49.    Defendants made all hiring decisions regarding wait staff, security,
  5    entertainers, managerial and all other employees on the premises.
  6          50.    Sam’s Hofbrau’s opportunity for profit and loss far exceeded
  7    Plaintiffs’ opportunity for profit and loss from work at Sam’s Hofbrau.
  8          51.    Nude dancing is an integral part of Sam’s Hofbrau’s operations.
  9    Sam’s Hofbrau’s advertising prominently displays exotic dancing for its
 10    customers. Sam’s Hofbrau is well known as a “strip club.”
 11          52.    Sam’s Hofbrau needs dancers/ entertainers to successfully and
 12    profitably operate the Sam’s Hofbrau business model.
 13          53.    The position of dancer/entertainer requires no managerial skill of
 14    others.
 15          54.    The position of dancer/entertainer requires little other skill or
 16    education, formal or otherwise.
 17          55.    The only requirements to become an entertainer at Sam’s Hofbrau
 18    are “physical attributes” and the ability to dance seductively. Plaintiff did not
 19    have a formal interview but instead was glanced over “up and down” and
 20    participated in a brief audition by the manager before being offered an
 21    employment opportunity. The amount of skill required is more akin to an
 22    employment position than that of a typical independent contractor. Defendants do
 23    not require prior experience as an entertainer or any formal dance training as a
 24    job condition or prerequisite to employment. Defendants do not require the
 25    submission of an application or a resume as part of the hiring process. In fact,
 26    Plaintiffs have little or no formal dance training and experience before
 27    auditioning to dance at Sam’s Hofbrau.
 28          56.    Defendants failed to maintain records of wages, fines, fees, tips and
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  1    gratuities and/or service charges paid or received by dancers/entertainers.
  2          57.    Plaintiffs were not paid an hourly minimum wage or any hourly
  3    wage or salary despite being present at Defendants’ facility and required to work
  4    and entertain its customers at any time during an eight-plus (8+) hour work shift.
  5          58.    Plaintiffs were not paid overtime wages at one-and-a-half (1½) times
  6    the regular minimum wage rate for any hours worked despite being present at
  7    Defendants’ facility and required to work and entertain its customers for longer
  8    than eight (8) hours per shift.
  9          59.    Plaintiffs were not paid an hourly minimum wage for the typical half
 10    (1/2) hour of time expended prior to each shift to get ready for work, including
 11    applying makeup and hair, and to comply with Defendants’ dress and appearance
 12    standards.
 13          60.    Plaintiffs were not paid an hourly minimum wage for the time she
 14    was required to wait at Sam’s Hofbrau until the premises and the parking lot
 15    were cleared of customers.
 16          61.    The FLSA Class Members had the same pay structure and were
 17    under the same controls as Plaintiffs.
 18          62.    Plaintiff and FLSA Class Members would work over forty (40)
 19    hours in some weeks each worked for Defendants.
 20          63.    Defendants have never paid Plaintiffs and FLSA Class Members any
 21    amount as wages whatsoever, and have instead unlawfully required Plaintiffs and
 22    FLSA Class Members to pay them for the privilege of working.
 23          64.    The only source of monies received by Plaintiff (and the class she
 24    seeks to represent) relative to her employment with Defendants came in the form
 25    of gratuities received directly from customers, a portion of which Plaintiffs and
 26    the FLSA Class Members were required to pay to Defendants.
 27          65.    Although Plaintiffs and FLSA Class Members are required to and do
 28    in fact frequently work more than forty (40) hours per workweek, they are not
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  1    compensated at the FLSA mandated time-and-a-half (1 ½) rate for hours in
  2    excess of forty (40) per workweek. In fact, they receive no compensation
  3    whatsoever from Defendants and thus, Defendants violate the minimum wage
  4    requirement of FLSA. See 29 U.S.C. § 206.
  5            66.   Defendants’ method of paying Plaintiffs in violation of the FLSA
  6    was willful and was not based on a good faith and reasonable belief that its
  7    conduct complied with the FLSA. Defendants misclassified Plaintiffs with the
  8    sole intent to avoid paying her in accordance to the FLSA; the fees and fines
  9    described herein constitute unlawful “kickbacks” to the employer within the
 10    meaning of the FLSA, and Plaintiffs are entitled to restitution of such fines and
 11    fees.
 12            67.   Plaintiffs and the FLSA Class Members who worked at Sam’s
 13    Hofbrau performed precisely the same job duties - dancing and entertaining at
 14    Sam’s Hofbrau.
 15            68.   Plaintiffs and the FLSA Class Members who worked at Sam’s
 16    Hofbrau during the applicable limitations period(s) were subject to the same
 17    work rules established by the Defendants as identified above.
 18            69.   Plaintiffs and the FLSA Class Members at Sam’s Hofbrau were
 19    subject to the terms and conditions of employment and the same degree of
 20    control, direction, supervision, promotion and investment imposed or performed
 21    by Defendants.
 22            70.   Plaintiffs and the FLSA Class Members at Sam’s Hofbrau during the
 23    applicable limitations period(s) were subject to the same across-the-board,
 24    uniformly applied corporate policy mandated by Defendants.
 25            71.   Plaintiffs and the FLSA Class Members at Sam’s Hofbrau, during
 26    the applicable limitations period, were subject to the same fees and fines imposed
 27    by Defendants.
 28            72.   As a result of Defendants’ across-the-board, standard operating
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  1    procedure of mischaracterizing dancers/entertainers as “independent contractors”
  2    and their consequent failure to pay any wages or compensation whatsoever, it is a
  3    certainty that numerous other current and former dancers and entertainers who
  4    worked at Sam’s Hofbrau during the applicable limitations period would elect to
  5    participate in this action if provided notice of same.
  6             73.   Upon information and belief, more than one hundred (100) dancers
  7    and entertainers have worked at Sam’s Hofbrau during the three (3) to five (5)
  8    years prior to the filing of this action.
  9             74.   Plaintiffs are “similarly situated” to the 29 U.S.C. § 216(b) class of
 10    persons she seeks to represent, and will adequately represent the interests of the
 11    class.
 12             75.   Plaintiffs have hired Counsel experienced in class actions and in
 13    collective actions under 29 U.S.C. § 216(b) who will adequately represent the
 14    class.
 15             76.   Defendants failed to keep records of tips, gratuities and/or service
 16    charges paid to Plaintiffs or any other dancer/entertainer and failed to maintain
 17    and furnish wage statements to Plaintiffs.
 18             77.   Federal law mandates that an employer is required to keep for three
 19    (3) years all payroll records and other records containing, among other things, the
 20    following information:
 21             a.    The time of day and day of week on which the employees’ work
 22                   week begins;
 23             b.    The regular hourly rate of pay for any workweek in which overtime
 24                   compensation is due under section 7(a) of the FLSA;
 25             c.    An explanation of the basis of pay by indicating the monetary
 26                   amount paid on a per hour, per day, per week, or other basis;
 27             d.    The amount and nature of each payment which, pursuant to
 28                   section 7(e) of the FLSA, is excluded from the “regular rate”;
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  1            e.    The hours worked each workday and total hours worked each
  2                  workweek;
  3            f.    The total daily or weekly straight time earnings or wages due for
  4                  hours worked during the workday or workweek, exclusive of
  5                  premium overtime compensation;
  6            g.    The total premium for overtime hours. This amount excludes the
  7                  straight-time earnings for overtime hours recorded under this section;
  8            h.    The total additions to or deductions from wages paid each pay period
  9                  including employee purchase orders or wage assignments;
 10            i.    The dates, amounts, and nature of the items which make up the total
 11                  additions and deductions;
 12            j.    The total wages paid each pay period; and
 13            k.    The date of payment and the pay period covered by payment.
 14    29 C.F.R. 516.2, 516.5.
 15            78.   Defendants have not complied with federal law and have failed to
 16    maintain such records with respect to Plaintiffs and the FLSA Class Members.
 17    Because Defendants’ records are inaccurate and/or inadequate, Plaintiffs and the
 18    FLSA Class Members can meet their burden under the FLSA by proving that
 19    they, in fact, performed work for which they were improperly compensated, and
 20    produce sufficient evidence to show the amount and extent of their work “as a
 21    matter of a just and reasonable inference.” See, e.g., Anderson v. Mt. Clemens
 22    Pottery Co., 328 U.S. 680, 687 (1946). Plaintiffs seek to put Defendants on
 23    notice that she intends to rely on Anderson to provide the extent of her unpaid
 24    work.
 25            B.    INDIVIDUAL LIABILITY UNDER THE FAIR LABOR STANDARDS ACT
 26            79.   In Boucher v. Shaw, 572 F.3d 1087 (9th Cir. 2009), the U.S. Court
 27    of Appeals for the Ninth Circuit held that individuals can be liable for FLSA
 28    violations under an expansive interpretation of “employer.” Id. at 1088. The
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  1    FLSA defines “employer” as “any person acting directly or indirectly in the
  2    interest of an employer in relation to an employee.” 29 U.S.C. § 203(d). The
  3    Ninth Circuit stated that the definition of “employer” under FLSA is not limited
  4    by the common law concept of “employer” but “is to be given an expansive
  5    interpretation in order to effectuate the FLSA’s broad remedial purposes.”
  6          80.    Where an individual exercises “control over the nature and structure
  7    of the employment relationship,” or “economic control” over the relationship,
  8    that individual is an employer within the meaning of the FLSA, and is subject to
  9    liability. Lambert v. Ackerley, 180 F.3d 997 (9th Cir. 1999). The Ninth Circuit
 10    highlighted factors related to “economic control,” which included ownership
 11    interest, operational control of significant aspects of the day-to-day functions, the
 12    power to hire and fire employees, determine salaries, and the responsibility to
 13    maintain employment records.
 14          81.    Minato is individually liable for failing to pay Plaintiffs their wages.
 15    The actual identities of DOE MANAGERS 1 through 3 and DOES 4 through 10
 16    are unknown at this time.
 17          82.    Furthermore, California law applies similar liability to owner’s who
 18    control company and cause illegal practices that harm employees.
 19    V.     COLLECTIVE ACTION ALLEGATIONS
 20          83.    Plaintiffs hereby incorporate by reference and re-allege each and
 21    every allegation set forth in each and every preceding paragraph as though fully
 22    set forth herein.
 23          84.    Plaintiffs bring this action as an FLSA collective action pursuant to
 24    29 U.S.C. § 216(b) on behalf of all persons who were or are employed by
 25    Defendants as exotic dancers/entertainers at any time during the three (3) years
 26    prior to the commencement of this action to present.
 27          85.    Plaintiffs have actual knowledge that the FLSA Class Members have
 28    also been denied overtime pay for hours worked over forty (40) hours per
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  1    workweek and have been denied pay at the federally mandated minimum wage
  2    rate. That is, Plaintiffs worked with other dancers at Sam’s Hofbrau. As such, she
  3    has firsthand personal knowledge of the same pay violations throughout
  4    Defendants’ club. Furthermore, other exotic dancers/entertainers at Defendants’
  5    club Sam’s Hofbrau have shared with her similar pay violation experiences as
  6    those described in this Complaint.
  7          86.    Other employees similarly situated to the Plaintiff s work or have
  8    worked at Sam’s Hofbrau but were not paid overtime at the rate of one and one-
  9    half (1½) their regular rate when those hours exceeded forty (40) hours per
 10    workweek. Furthermore, these same employees were denied pay at the federally
 11    mandated minimum wage rate.
 12          87.    Although Defendants permitted and/or required the FLSA Class
 13    Members to work in excess of forty (40) hours per workweek, Defendants have
 14    denied them full compensation for their hours worked over forty (40).
 15    Defendants have also denied them full compensation at the federally mandated
 16    minimum wage rate.
 17          88.    FLSA Class Members perform or have performed the same or
 18    similar work as the Plaintiffs.
 19          89.    FLSA Class Members regularly work or have worked in excess of
 20    forty (40) hours during a workweek.
 21          90.    FLSA Class Members regularly work or have worked and did not
 22    receive minimum wage.
 23          91.    FLSA Class Members are not exempt from receiving overtime
 24    and/or pay at the federally mandated minimum wage rate under the FLSA.
 25          92.    As such, FLSA Class Members are similar to Plaintiffs in terms of
 26    job duties, pay structure, misclassification as independent contractors and/or the
 27    denial of overtime and minimum wage.
 28          93.    Defendants’ failure to pay overtime compensation and hours worked
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  1    at the minimum wage rate required by the FLSA results from generally
  2    applicable policies or practices, and does not depend on the personal
  3    circumstances of the FLSA Class Members.
  4          94.    The experiences of the Plaintiffs, with respect to her pay, are typical
  5    of the experiences of the FLSA Class Members.
  6          95.    The specific job titles or precise job responsibilities of each FLSA
  7    Class Member does not prevent collective treatment.
  8          96.    All FLSA Class Members, irrespective of their particular job
  9    requirements, are entitled to overtime compensation for hours worked in excess
 10    of forty (40) during a workweek.
 11          97.    All FLSA Class Members, irrespective of their particular job
 12    requirements, are entitled to compensation for hours worked at the federally
 13    mandated minimum wage rate.
 14          98.    Although the exact number of damages may vary among FLSA
 15    Class Members, the damages for the FLSA Class Members can be easily
 16    calculated by a simple formula. The claims of all FLSA Class Members arise
 17    from a common nucleus of facts. Liability is based on a systematic course of
 18    wrongful conduct by the Defendant that caused harm to all FLSA Class
 19    Members.
 20          99.    As such, Plaintiffs bring her FLSA claims as a collective action on
 21    behalf of the following class:
 22                 All of Defendants’ current and former exotic
 23                 dancers/entertainers who worked at the Sam’s
 24                 Hofbrau located in Los Angeles, California at any time
 25                 starting three (3) years before this Complaint was filed.
 26    ///
 27    ///
 28    ///
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1     VI.    CAUSES OF ACTION
  2                              FIRST CAUSE OF ACTION
  3      FAILURE TO PAY MINIMUM WAGE PURSUANT TO THE FLSA, 29 U.S.C. § 206
  4               (By Plaintiffs Individually and on Behalf of the Collective
  5                                 Against All Defendants)
  6           100. Plaintiffs hereby incorporate by reference and re-allege paragraphs
  7    1-98 as though fully set forth herein.
  8           101. Defendants are engaged in “commerce” and/or in the production of
  9    “goods” for “commerce” as those terms are defined in the FLSA.
 10           102. Defendants operate an enterprise engaged in commerce within the
 11    meaning of the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged
 12    in commerce, and because its annual gross volume of sales made is more than
 13    five hundred thousand U.S. Dollars ($500,000).
 14           103. Defendants failed to pay Plaintiff the minimum wage in violation of
 15    29 U.S.C. § 206.
 16           104. Based upon the conduct alleged herein, Defendants knowingly,
 17    intentionally and willfully violated the FLSA by not paying Plaintiff the
 18    minimum wage under the FLSA.
 19           105. Throughout the relevant period of this lawsuit, there is no evidence
 20    that Defendants’ conduct that gave rise to this action was in good faith and based
 21    on reasonable grounds. In fact, Defendants continued to violate the FLSA long
 22    after they learned that their misclassification scheme and compensation policies
 23    were illegal.
 24           106. Due to Defendants’ FLSA violations, Plaintiffs are entitled to
 25    recover from Defendants, minimum wage compensation and an equal amount in
 26    the form of liquidated damages, as well as reasonable attorneys’ fees and costs of
 27    the action, including interest, pursuant to 29 U.S.C. § 216(b).
 28    ///
              COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1                             SECOND CAUSE OF ACTION
  2    FAILURE TO PAY OVERTIME WAGES PURSUANT TO THE FLSA, 29 U.S.C. § 207
  3               (By Plaintiffs Individually and on Behalf of the Collective
  4                                 Against All Defendants)
  5          107. Plaintiffs hereby incorporate by reference and re-allege paragraphs 1-
  6    98 as though fully set forth herein.
  7          108. Each Defendant is an “employer” or “joint employer” of Plaintiff
  8    within the meaning of the FLSA, 29 U.S.C. § 203(d).
  9          109. Defendants are engaged in “commerce” and/or in the production of
 10    “goods” for “commerce” as those terms are defined in the FLSA.
 11          110. Defendants operate an enterprise engaged in commerce within the
 12    meaning of the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged
 13    in commerce, and because its annual gross volume of sales made is more than five
 14    hundred thousand U.S. Dollars ($500,000.00).
 15          111. Defendants failed to pay Plaintiff the applicable overtime wage for
 16    each hour in excess of forty (40) during each workweek in which she worked in
 17    violation of 29 U.S.C. § 207.
 18          112. Based upon the conduct alleged herein, Defendants knowingly,
 19    intentionally and willfully violated the FLSA by not paying Plaintiff the overtime
 20    wage required under the FLSA.
 21          113. Throughout the relevant period of this lawsuit, there is no evidence
 22    that Defendants’ conduct that gave rise to this action was in good faith and based
 23    on reasonable grounds. In fact, Defendants continued to violate the FLSA long
 24    after they learned that their misclassification scheme and compensation policies
 25    were unlawful.
 26          114. Due to Defendants’ FLSA violations, Plaintiffs are entitled to
 27    recover from Defendants, overtime wage compensation and an equal amount in
 28    the form of liquidated damages, as well as reasonable attorneys’ fees and costs of
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1    the action, including interest, pursuant to 29 U.S.C. § 216(b).
  2                              THIRD CAUSE OF ACTION
  3       UNLAWFUL TAKING OF TIPS IN VIOLATION OF THE FLSA, 29 U.S.C. § 203
  4               (By Plaintiffs Individually and on Behalf of the Collective
  5                                 Against All Defendants)
  6          115. Plaintiffs hereby incorporate by reference and re-allege paragraphs 1-
  7    98 as though fully set forth herein.
  8          116. Plaintiffs customarily and regularly received more than thirty U.S.
  9    Dollars ($30.00) a month in tips and therefore is a tipped employee as defined in
 10    the FLSA, 29 U.S.C. § 203(t), see also 29 C.F.R. § 531.50.
 11          117. At all relevant times, each Defendant is an “employer” or joint
 12    employer of Plaintiff within the meaning of the FLSA, 29 U.S.C. § 203(d).
 13          118. Defendants are engaged in “commerce” and/or in the production of
 14    “goods” for “commerce” as those terms are defined in the FLSA.
 15          119. Defendants operate an enterprise engaged in commerce within the
 16    meaning for the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged
 17    in commerce, and because its annual gross volume of sales made is more than five
 18    hundred thousand U.S. Dollars ($500,000).
 19          120. Under TIPA:
 20                 [a]n employer may not keep tips received by its employees
                    for any purpose including allowing managers or
 21                 supervisors to keep any portion of employees’ tips,
 22                 regardless of whether or not it takes a tip credit.
 23          29 U.S.C. § 203.
 24          121. Defendants kept a portion of tips paid to Plaintiff by Defendants’
 25    customers in the form of fees, fines, mandatory charges and other payments to
 26    management and disc jockeys in violation of TIPA.
 27          122. Defendants required Plaintiff to participate in an illegal tip pool,
 28    which included employees who do not customarily and regularly receive tips, and
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  1    do not have more than a de minimis, if any, interaction with customers leaving the
  2    tips (such as the Club DJs and management). See U.S. Dep’t of Labor, Wage and
  3    Hour Division, “Fact Sheet # 15: Tipped employees under the Fair Labor
  4    Standards Act (FLSA).”
  5          123. The contribution the Defendants required Plaintiff to make after each
  6    shift was arbitrary and capricious and the distribution was not agreed to by
  7    Plaintiff other dancers; but rather, was imposed upon Plaintiff and other dancers.
  8          124. By requiring Plaintiff to pool her tips with club management,
  9    including the individual Defendants named herein, Defendants “retained” a
 10    portion of the tips received by Plaintiff in violation of the FLSA.
 11          125. Defendants did not make any effort, let alone a “good faith” effort, to
 12    comply with the FLSA as it relates to compensation owed to Plaintiff.
 13          126. At the time of their illegal conduct, Defendants knew or showed
 14    reckless disregard that the tip-pool which they required Plaintiff to contribute
 15    included non-tipped employees and, therefore, was statutorily illegal. In spite of
 16    this, Defendants willfully failed and refused to pay Plaintiff the proper amount of
 17    the tips to which she was entitled.
 18          127. Defendants’ willful failure and refusal to pay Plaintiff the tips she
 19    earned violates the FLSA.
 20          128. Defendants kept a portion of tips paid to Plaintiff by Defendants’
 21    customers in the form of fees, fines, mandatory charges and other payments to
 22    management and disc jockeys in violation of TIPA.
 23          129. As a result of the acts and omissions of the Defendants as alleged
 24    herein, and pursuant to 29 U.S.C. §§ 216(b) and 260, Plaintiffs are entitled to
 25    damages in the form of all misappropriated tips, plus interest; as liquated
 26    damages, an amount equal to all misappropriated tips, mandatory attorneys’ fees,
 27    costs, and expenses.
 28    ///
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1                             FOURTH CAUSE OF ACTION
  2                          ILLEGAL KICKBACKS, 29 C.F.R. § 531.35
  3                 (By Plaintiffs Individually and on Behalf of the Collective
  4                                  Against All Defendants)
  5          130. Plaintiffs hereby incorporate by reference and re-allege paragraphs
  6    1-98 as though fully set forth herein.
  7          131. Defendants required Plaintiffs to pay monetary fees to Defendants
  8    and other Sam’s Hofbrau employees who did not work in positions that are
  9    customarily and regularly tipped, in violation of 29 U.S.C. § 203(m).
 10          132. Defendants’ requirement that Plaintiffs pay fees to Defendants and
 11    other Sam’s Hofbrau employees violated the “free and clear” requirement of 29
 12    C.F.R. § 531.35.
 13          133. Because Defendants violated the “free and clear” requirement of 29
 14    C.F.R. § 531.35 as alleged above, they were not entitled to utilize the FLSA’s tip-
 15    credit provision with respect to Plaintiffs’ wages.
 16          134. Because Defendants violated the “free and clear” requirement of 29
 17    C.F.R. § 531.35, all monetary fees imposed on Plaintiff are classified as illegal
 18    kickbacks.
 19          135. Plaintiffs are entitled to recover from Defendants all fees that
 20    Defendants required Plaintiffs to pay in order to work at Sam’s Hofbrau,
 21    involving but not limited to house fees.
 22    ///
 23    ///
 24    ///
 25    ///
 26    ///
 27    ///
 28    ///
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1                                FIFTH CAUSE OF ACTION
  2                             FORCED TIPPING, 29 C.F.R. § 531.35
  3                 (By Plaintiffs Individually and on Behalf of the Collective
  4                                   Against All Defendants)
  5             136. Plaintiffs hereby incorporate by reference and re-allege paragraphs
  6    1-98 as though fully set forth herein.
  7             137. Defendants required Plaintiffs to pay monetary fees to other Sam’s
  8    Hofbrau employees who did not work in positions that are customarily and
  9    regularly tipped, in violation of 29 U.S.C. § 203(m).
 10             138. Defendants’ requirement that Plaintiffs pay fees to other Sam’s
 11    Hofbrau employees violated the “free and clear” requirement of 29 C.F.R. §
 12    531.35.
 13             139. Because Defendants violated the “free and clear” requirement of 29
 14    C.F.R. § 531.35 as alleged above, they were not entitled to utilize the FLSA’s tip-
 15    credit provision with respect to Plaintiff’s wages.
 16             140. Plaintiffs are entitled to recover from Defendants all fees that
 17    Defendants required Plaintiff to pay other employees in order to work at Sam’s
 18    Hofbrau, involving but not limited to forced tip sharing.
 19                                SIXTH CAUSE OF ACTION
 20          FAILURE TO PAY MINIMUM WAGE UNDER CAL. LAB. CODE §§ 1194 & 1197
 21                     (By Plaintiffs Individually Against All Defendants)
 22             141. Plaintiffs hereby incorporate by reference and re-allege paragraphs 1-
 23    98 as though fully set forth herein.
 24             142. Plaintiffs allege, on the basis of information and belief, that
 25    Defendants, from the time the applicable statute of limitations begins to the
 26    present time, have engaged in the regular practice of requiring or permitting
 27    Plaintiffs to work without paying the legal minimum wage at all times.
 28    ///
               COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1          143. Section 2(K) of IWC Wage Order 5 and section 5(H) of IWC Wage
  2    Order 10 define “hours worked” as “the time during which an employee is subject
  3    to the control of the employer, [which] includes all the time the employee is
  4    suffered or permitted to work, whether or not required to do so.” An employer
  5    must pay its employees for all “hours worked.”
  6          144. Defendants did not pay wages for any of the time that they controlled
  7    Plaintiffs and/or permitted her to work.
  8          145. Plaintiffs are not exempt from the minimum wage requirements
  9    under California law.
 10          146. Defendants failed to accurately pay Plaintiffs the required legal
 11    minimum wage and compensation for all hours worked, in violation of Cal. Lab.
 12    Code §§ 204, 210, 216, 558, 1194, 1194.12, 1197 and applicable IWC Wage
 13    Order(s).
 14          147. Defendants, and each of them, individually or by and through their
 15    respective officers, directors and managing agents, ordered, authorized, approved
 16    or ratified the conduct herein alleged with the intent to deprive Plaintiff
 17    compensation and benefits to which she is, and was, entitled under California law,
 18    so as to increase Defendants’ profits at the expense of the health and welfare of
 19    their employees, contrary to public policy and clear statutory obligations.
 20          148. As a result of the actions of Defendants in failing and refusing to pay
 21    the minimum wages required by law, Plaintiffs were damaged by not receiving
 22    compensation which she should have received, but did not receive. Plaintiffs are
 23    therefore entitled to compensation in an amount to be proven at trial for unpaid
 24    wages, pre-judgment interest, penalties, attorneys’ fees and costs pursuant to Cal.
 25    Lab. Code § 1194 and other applicable statutes.
 26    ///
 27    ///
 28    ///
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1                            SEVENTH CAUSE OF ACTION
  2                 FAILURE TO PAY OVERTIME WAGES IN VIOLATION OF
  3                          CAL. LAB. CODE §§ 510, 1194, & 1197
  4                  (By Plaintiffs Individually Against All Defendants)
  5          149. Plaintiffs hereby incorporate by reference and re-allege paragraphs 1-
  6    98 as though fully set forth herein.
  7          150. At all relevant times, Plaintiffs have been a non-exempt employee of
  8    Defendants and is entitled to the full protections of the California Labor Code and
  9    of the applicable IWC Wage Order(s).
 10          151. Cal. Lab. Code § 1198 makes it unlawful for an employer to employ
 11    any person under conditions of employment that violate the Wage Order.
 12          152. Section 2(K) of IWC Wage Order 5 and section 2(H) of IWC Wage
 13    Order 10 define “hours worked” as “the time during which an employee is subject
 14    to the control of the employer, [which] includes all the time the employee is
 15    suffered or permitted to work, whether or not required to do so.” An employer
 16    must pay its employees for all “hours worked.”
 17          153. Cal. Lab. Code §§ 510 and 1194, and Section 3 of the Wage Orders,
 18    require employers to pay overtime wages to their non-exempt employees at no
 19    less than one and one-half (1 ½) times their regular rates of pay for all hours
 20    worked in excess of eight (8) hours in one workday, all hours worked in excess of
 21    forty (40) hours in one workweek, and for the first eight (8) hours worked on a
 22    seventh consecutive workday.
 23          154. Cal. Lab. Code §§ 510 and 1194, and Section 3 of the Wage Orders,
 24    also require employers to pay overtime wages to their non-exempt employees at
 25    no less than two (2) times their regular rates of pay for all hours worked in excess
 26    of twelve (12) hours in one workday, and for all hours worked in excess of eight
 27    (8) hours on a seventh consecutive workday.
 28    ///
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  1          155. At relevant times during their employment, Defendants failed to pay
  2    Plaintiffs’ overtime wages for overtime hours worked.
  3          156. Pursuant to Cal. Lab. Code § 1194, Plaintiffs seek recovery of all
  4    unpaid overtime wages, interest thereon, costs of suit, and reasonable attorneys’
  5    fees, all in amounts subject to proof.
  6                             EIGHTH CAUSE OF ACTION
  7                 FAILURE TO FURNISH ACCURATE WAGE STATEMENTS,
  8                             CAL. LAB. CODE §§ 226, ET. SEQ.
  9                   (By Plaintiffs Individually Against All Defendants)
 10          157. Plaintiffs hereby incorporate by reference and re-allege paragraphs 1-
 11    98 as though fully set forth herein.
 12          158. Cal. Lab Code § 226(a) mandates that “[e]very employer shall,
 13    semimonthly or at the time of each payment of wages, furnish each of his or her
 14    employees, either as a detachable part of the check, draft, or voucher paying the
 15    employee’s wages, or separately when wages are paid by personal check or cash,
 16    an accurate itemized statement in writing showing (1) gross wages earned, (2)
 17    total hours worked by the employee, except for any employee whose
 18    compensation is solely based on a salary and who is exempt from payment of
 19    overtime under subdivision (a) of Section 515 or any applicable order of the
 20    Industrial Welfare Commission, (3) the number of piece-rate units earned and any
 21    applicable piece rate if the employee is paid on a piece-rate basis, (4) all
 22    deductions, provided that all deductions made on written orders of the employee
 23    may be aggregated and shown as one item, (5) net wages earned, (6) the inclusive
 24    dates of the period for which the employee is paid, (7) the name of the employee
 25    and only the last four digits of his or her social security number or an employee
 26    identification number other than a social security number, (8) the name and
 27    address of the legal entity that is the employer and, if the employer is a farm labor
 28    contractor, as defined in subdivision (b) of Section 1682, the name and address of
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  1    the legal entity that secured the services of the employer, and (9) all applicable
  2    hourly rates in effect during the pay period and the corresponding number of
  3    hours worked at each hourly rate by the employee and, beginning July 1, 2013, if
  4    the employer is a temporary services employer as defined in Section 201.3, the
  5    rate of pay and the total hours worked for each temporary services assignment.”
  6    (Emphasis added.)
  7          159. Pursuant to Cal. Lab. Code § 226(e)(2)(B), “an employee is deemed
  8    to suffer injury for purposes of this subdivision if the employer fails to provide
  9    accurate and complete information as required by any one or more of items”
 10    identified above.
 11          160. As alleged in Plaintiffs’ causes of action, Defendants, and each of
 12    them, regularly failed to compensate Plaintiff for all of her overtime hours
 13    worked, as well as for her missed meal and rest breaks.
 14          161. Furthermore, Defendants did not regularly furnish wage statements
 15    that identified the inclusive dates for that wage statement, in violation of Cal. Lab.
 16    Code §§ 226, et seq.
 17          162. Pursuant to Cal. Lab. Code § 226, Plaintiff seeks damages, costs of
 18    suit, and reasonable attorneys’ fees in an amount to be proven at the time of trial.
 19                              NINTH CAUSE OF ACTION
 20                 WAITING TIME PENALTIES, CAL. LAB. CODE §§ 201-203
 21                  (By Plaintiffs Individually Against All Defendants)
 22          163. Plaintiffs hereby incorporate by reference and re-allege paragraphs 1-
 23    98 as though fully set forth herein.
 24          164. At all times relevant herein, Defendants were required to pay their
 25    employees all wages owed in a timely fashion during and at the end of their
 26    employment, pursuant to Cal. Lab. Code §§ 201–203.
 27          165. As a pattern and practice, Defendants regularly failed to pay Plaintiff
 28    her final wages pursuant to Cal. Lab. Code §§ 201–203, and accordingly owe
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  1    waiting time penalties pursuant to Cal. Lab. Code § 203.
  2           166. The conduct of Defendants and their agents and managerial
  3    employees as described herein was willful, and in violation of the rights of
  4    Plaintiff.
  5           167. Plaintiffs are informed and believe, and on that basis allege, that
  6    Defendants’ willful failure to pay wages due and owed to her upon separation
  7    from employment results in a continued payment of wages up to thirty (30) days
  8    from the time the wages were due. Therefore, Plaintiffs are entitled to
  9    compensation pursuant to Cal. Lab. Code § 203.
 10                               TENTH CAUSE OF ACTION
 11                 FAILURE TO INDEMNIFY BUSINESS EXPENSES IN VIOLATION OF
 12                                    CAL. LAB. CODE § 2802
 13                     (By Plaintiffs Individually Against All Defendants)
 14           168. Plaintiffs hereby incorporate by reference and re-allege paragraphs 1-
 15    98 as though fully set forth herein.
 16           169. Cal. Lab. Code § 2802 requires employers, including Defendants, to
 17    indemnify employees for all necessary expenditures incurred by the employee in
 18    performing her job.
 19           170. As alleged herein, Defendants required Plaintiff, as a condition of her
 20    employment, pay a daily “house fee” and/or “stage fee” of approximately one-
 21    hundred and twenty U.S. Dollars ($120) in order to fulfill Plaintiff’s job duties.
 22           171. As alleged herein, Defendants required Plaintiff, as a condition of her
 23    employment, pay “late fees” and “leave early fees” and any balances from
 24    previous shifts in order to fulfill Plaintiff’s job duties.
 25           172. Such expenditures by Plaintiff are incurred in direct consequence of
 26    the discharge of Plaintiff’s job duties.
 27           173. As a direct and proximate result of Defendants’ failure to reimburse
 28    Plaintiff for these necessary expenditures, Plaintiffs have been injured in an
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  1    amount to be proved at trial.
  2           174. Plaintiffs are, therefore, entitled to recover reimbursement for these
  3    necessary expenditures, and also to recover costs, interest, and attorneys’ fees as
  4    provided by California law.
  5                           ELEVENTH CAUSE OF ACTION
  6          COMPULSION AND COERCION TO PATRONIZE EMPLOYER AND/OR OTHER
  7                    PERSONS IN VIOLATION OF CAL. LAB. CODE §450
  8                   (By Plaintiffs Individually Against All Defendants)
  9           175. Plaintiffs hereby incorporate by reference and re-allege paragraphs 1-
 10    98 as though fully set forth herein.
 11           176. Cal. Lab. Code § 450 provides that no employer “may compel or
 12    coerce any employee, or applicant for employment, to patronize his or her
 13    employer, or any other person, in the purchase of anything of value.”
 14           177. As alleged herein, Defendants required Plaintiff to purchase various
 15    fees such as the “house fee,” the “late fee,” and the “leave early fee” from
 16    Defendants and/or other specific persons.
 17           178. As a direct and proximate result of Defendants’ requirement that
 18    Plaintiff purchase anything of value, including the “house fee,” the “late fee,” and
 19    the “leave early fee” from Defendants and/or other specific persons, Plaintiffs
 20    have been injured in an amount to be proved at trial.
 21           179. By requiring Plaintiff to purchase said fees to do her job, Defendants
 22    compelled and coerced Plaintiff to patronize Sam’s Hofbrau.
 23           180. Plaintiffs are, therefore, entitled to recover damages, and also to
 24    recover costs, interest, and attorney’s fees as provided by California law.
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              COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
                                              – 29 –
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  1                            TWELTH CAUSE OF ACTION
  2                        TIP MISAPPROPRIATION IN VIOLATION OF
  3                              Cal. Lab. Code §§ 350, et seq.
  4                      (By Plaintiff and on behalf of the Collective
  5                                 Against All Respondents)
  6          181. Plaintiffs hereby incorporates by reference and re-alleges each and
  7    every allegation set forth in paragraphs 1-89 as though fully set forth herein.
  8          182. Cal. Lab. Code § 351 makes it illegal for an employer to collect tips
  9    paid or left for the employee and mandates that such tips are the employees’
 10    property. Moreover, Cal. Lab. Code § 350(2) provides as follows: Gratuity
 11    includes any tip, gratuity, money or part thereof that has been paid or given to or
 12    left for an employee by a patron of a business over and above the actual amount
 13    due the business for service rendered or for goods, food, drink or articles or
 14    served to the patron. Any amounts paid directly by a patron to a dancer employed
 15    by an employer subject to Industrial Welfare Commission Order No. 5 or 10 shall
 16    be deemed a gratuity.
 17          183. Plaintiffs are entitled to the amounts paid by the patron at Sam’s
 18    Hofbrau that was taken/withheld by Defendants.
 19          184. Claimant is, therefore, entitled to recover damages, and also to
 20    recover costs, interest, and attorneys’ fees as provided by California law.
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             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
                                              – 30 –
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  1                          THIRTEENTH CAUSE OF ACTION
  2                         UNFAIR COMPETITION IN VIOLATION OF
  3                        CAL. BUS. & PROF. CODE §§ 17200, ET SEQ.
  4                       (By Plaintiff and on behalf of the Collective
  5                                 Against All Defendants)
  6          185. Plaintiffs hereby incorporate by reference and re-allege paragraphs 1-
  7    98 as though fully set forth herein.
  8          186. Cal. Bus. & Prof. Code § 17200 defines “unfair competition” to
  9    include any unlawful business practice.
 10          187. Cal. Bus. & Prof. Code §17204 allows a person who has lost money
 11    or property as a result of unfair competition to bring an action for restitution of
 12    money or property acquired from him or her by means of unfair competition.
 13          188. The FLSA prohibits employers to divert any part of an employee’s
 14    wages and overtime wages, including tips and gratuity, to itself.
 15          189. In violation of these requirements, as set forth above, Defendants
 16    violated 29 U.S.C. § 203 by forcing Plaintiffs and the FLSA Class Members to
 17    participate in an invalid tip-pool with employees who typically do not receive
 18    tips. Additionally, Defendants forced Plaintiff to use portions of her tip wages to
 19    pay Defendant managers as well as “house fees” and other fees and fines.
 20          190. In violation of these requirements, as set forth above, Defendants
 21    violated 29 U.S.C. § 206 and 29 U.S.C. § 207 by failing to pay Plaintiffs and the
 22    FLSA Class Members minimum wages and overtime wages.
 23          191. As a result of Defendants’ above-alleged unlawful business practices,
 24    Plaintiffs and the FLSA Class Members have lost monies and property by means
 25    of unfair competition.
 26          192. In violation of these requirements, as set forth above, Defendants
 27    compelled Plaintiff to patronize Sam’s Hofbrau.
 28          193. In violation of these requirements, as set forth above, Defendants
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1    failed to pay Plaintiff overtime wages for hours that she worked.
  2           194. In violation of these requirements, as set forth above, Defendants
  3    failed to pay Plaintiff minimum wages for the hours that she worked.
  4           195. In violation of these requirements, as set forth above, Defendants
  5    failed to indemnify business expenses to Plaintiff.
  6           196. As a result of Defendants’ above-alleged unlawful business practices,
  7    Plaintiffs have lost monies and property by means of unfair competition.
  8           197. Pursuant to Cal. Bus. & Prof. Code § 17204, Plaintiff seeks an order
  9    of restitution for all monies and property that Defendants have acquired from her
 10    by means of unfair competition from the forced tip pooling.
 11           198. Plaintiffs are seeking minimum wages, overtime wages, forced tips
 12    and other restitutionary relief under this equitable cause of action for the four
 13    years prior to filing this lawsuit.
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             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
                                               – 32 –
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  1                               PRAYER FOR RELIEF
  2         WHEREFORE, Plaintiffs requests of this Court the following relief:
  3               1. For compensatory damages according to proof at trial of at least
  4                  $100,000 for jurisdictional purposes;
  5               2. For special damages according to proof at trial;
  6               3. For restitution of unpaid monies;
  7               4. For attorneys’ fees;
  8               5. For costs of suit incurred herein;
  9               6. For statutory penalties;
 10               7. For civil penalties;
 11               8. For pre-judgment interest;
 12               9. For post-judgement interest;
 13               10.For general damages in an amount to be proven at trial;
 14               11.For declaratory relief;
 15               12.For injunctive relief; and
 16               13.For such other and further relief as the Court may deem just and
 17                  proper.
 18
       Dated: November 17, 2021                         KRISTENSEN LLP
 19
 20                                                     /s/ John P. Kristensen
                                                        John P. Kristensen
 21                                                     Jesenia A. Martinez
 22
                                                        Attorneys for Plaintiff
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            COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1                            DEMAND FOR JURY TRIAL
  2         Plaintiffs hereby demand a trial by jury for all such triable claims.
  3
  4
  5    Dated: November 17, 2021                        KRISTENSEN LLP
  6
                                                       /s/ John P. Kristensen
  7                                                    John P. Kristensen
  8                                                    Jesenia A. Martinez

  9                                                    Attorneys for Plaintiff
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            COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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